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     10                            UNITED STATES DISTRICT COURT
     11                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
     12                                     (Judge Thomas J. Whelan)
g 8t:' 13   UNITED STATES OF AMERICA,                    Case No. 18-CR-3677-W
 Pi 14                         Plaintiff,                ACKNOWLEDGEMENT OF NEXT
                                                         COURT APPEARANCE BY
     15                 v.
                                                         DEFENDANT DUNCAN D. HUNTER
0 16        DUNCAN D. HUNTER,
                                                         Date:            July 1, 2019
A 17                           Defendant.                Time:            10:00 a.m.
     18
     19           I, DUNCAN D. HUNTER, hereby declare as follows:

     20           1.    I have been advised that the Motion Hearing is currently scheduled for
     21     July 1, 2019 at 10:00 a.m.
     22           2.    I hereby acknowledge my responsibility to appear at court on July 1, 2019
     23     at 10:00 a.m. in connection with the above-referenced case.

     24           I declare under penalty of perjury unde e laws the Unite • t
     25     that the foregoing is true and correct. E cuted on J   /1, 2019
     26
     27
     28

            ACKNOWLEDGEMENT OF NEXT COURT APPEARANCE BY                      Case No. 15-CR-2932-H
            DEFENDANT DUNCAN D. HUNTER
